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FoR THE wEsTERN olsTRlcT oF TENNEssEE ,?; q
wEsTERN DlvlsloN 1 ?

 

UN|TED STATES OF AMER|CA

 

P|aintiff

VS.
CR. NO. 04-20258-D

ANTON|O GRAYER

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXC!_UDABLE DEl_AY
AND SETT|NG

 

This cause came on for a report date on May 19, 2005. At that time, counsel for the
defendant requested a continuance ofthe June 6, 2005tria| date and requested a Change
of P|ea hearing date.

The Court granted the request and reset the trial date to Ju|y 5, 2005 with a §Mg_e
of P|ea hearinq date of Thursdav. June 22. 2005, at 11:00 a.m., in Courtroom 3. 9th
E_|o_or of the Federa| Building, Memphis, TN.

The period from June 17, 2005 through July 15, 2005 is excludable under 18
U.S.C. § 31 61 (h)(B)(B)(iv) because the ends ofjustice served in allowing for additional time
to prepare outweigh the need for a speedy trial.

lT rs so oRDERED this §§ day of May, 2005.

B RN|CE B. D' ALD
UN|TED STATES DlSTR|CT JUDGE

   

UNITED sATE DsTrrC COURT - WETERN DISTRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 52 in
case 2:04-CR-20258 Was distributed by faX, mail, or direct printing on
May 24, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

